Case 4:18-cv-00006-ALM-CAN Document 29 Filed 03/09/18 Page 1 of 1 PageID #: 151



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION


  DAVID E. MACK,                                    §
                                                    §
                                                    §     CIVIL ACTION NO. 4:18-CV-006-ALM-
                     Plaintiff,                     §                   CAN
                                                    §
  v.                                                §
                                                    §
  EXPERIAN INFORMATION SOLUTIONS,                   §
  INC., ET AL.,                                     §
                                                    §
                                                    §
                     Defendants.


                                              ORDER

         Pending before the Court is Plaintiff David E. Mack’s Motion to Strike Defendant Equifax,

 Inc.’s Affirmative Defenses [Dkt. 20] (“First Motion to Strike”). Plaintiff’s First Motion to Strike

 seeks to strike certain affirmative defenses asserted in Equifax’s Original Answer [Dkt. 11]. On

 February 22, 2018, Equifax filed its Amended Answer and Defenses to Plaintiff’s Complaint

 [Dkt. 19]. Plaintiff has now also filed his Second Motion to Strike related to Equifax’s Amended

 Answer and Defenses [Dkt. 23]. Accordingly,

         IT IS THEREFORE ORDERED THAT Plaintiff David E. Mack’s Motion to Strike

 Defendant Equifax, Inc.’s Affirmative Defenses [Dkt. 20] is DENIED AS MOOT.

         IT IS SO ORDERED.
         SIGNED this 9th day of March, 2018.




                                    ___________________________________
                                    Christine A. Nowak
                                    UNITED STATES MAGISTRATE JUDGE


 Order - Page Solo
